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IN THE UNITED STATES DISTRICT COURT, |
FOR THE NORTHERN DISTRICT OF ILLINO NV

EASTERN DIVISION OCT x »
Ocy 5 7005
STANFORD A. BURRELL, ) Cg OAL WS C006,
Plaintiff, ) *T COupy
)
v. ) No.
)

CHICAGO POLICE OFFICER DAVID
W. HOLLIDAY, star # 14827,
CHICAGO POLICE OFFICER JAIME
GAETA, star # 17317, CHICAGO
POLICE OFFICER NED R.
POLOVINA, star # 17772, CHICAGO
POLICE OFFICER JAMES A.
MANSELL, star # 17374, CHICAGO
POLICE OFFICER J. LUKASIK, star #
7955, CHICAGO POLICE OFFICER
R. WOODS, star # 55064, Unknown
Chicago Police Officers, and THE CITY
OF CHICAGO, a Municipal
Corporation.

Defendants.

06CV5343
JUDGE BUCKLO
MAG. JUDGE DENLOW

JURY DEMANDED

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PLAINTIFF’S COMPLAINT

Plaintiff, Stanford A. Burrell, by one of his attorneys, Maritza Martinez, of Robert

A. Fisher. Ltd., for his Complaint against Defendants, states as follows:

JURISDICTION AND VENUE

1. The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42

U.S.C. Sec. 1983 et seq, and Sec. 1985; the judicial code 28 U.S.C. Sec. 1331

and Sec. 1343(a); the Fourth Amendment of the Constitution of the United

States as incorporated and applied to state governments through the

Fourteenth Amendment; and supplementary jurisdiction, as provided under

U.S.C. Sec. 1367(a).

2. This is an appropriate venue because all of the alleged acts occurred within
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the Northern District of II}inois and all of the parties reside within the

Northern District of Hlinois.

PARTIES

3. Plaintiff Stanford A. Burrell is a 40 year old Black man, and a resident of the
City of Chicago and the United States of America.

4. Defendants, CHICAGO POLICE OFFICER DAVID W. HOLLIDAY, star #
14827, CHICAGO POLICE OFFICER JAIME GAETA, star # 17317,
CHICAGO POLICE OFFICER NED R. POLOVINA, star # 17772, and
CHICAGO POLICE OFFICER JAMES A. MANSELL, star # 17374,
CHICAGO POLICE OFFICER J. LUKASIK, star # 7955, and CHICAGO
POLICE OFFICER R. WOODS, star # 55064, (hereinafter collectively
referred to as “Individual Defendants’’) were, at the time of their occurrence,
duly appointed Chicago police officers in uniform. They engaged in the
conduct complained of in the course and scope of their employment and while
they were on duty and under color of law. They were acting in their
individual capacities.

5. Defendant Unknown Chicago Police Officers are police officers employed by
the Chicago Police Department.

6. Defendant City of Chicago is a municipal corporation, duly incorporated
under the laws of the State of Illinois, and as such is responsible for the
policies, practices, and customs of the Chicago Police Department, its
Superintendent of Police, its Office of Professional Standards (hereafter
O.P.S.), its Personnel Division, its Internal Affairs Division (hereafter I.A.D.)
and the Chicago Police Board.

FACTS

7. On or about October 6, 2005, at approximately 4:47 p.m., Plaintiff, Stanford
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A. Burrell was lawfully at 7744 S. Rhodes, Chicago, IL, and was at all
relevant times acting in full conformity with all laws, statutes, and ordinances
of the United States, the State of Illinois, and the City of Chicago.

At said focation, date and time, CHICAGO POLICE OFFICER DAVID W.
HOLLIDAY, star # 14827, fired his OC spray at Plaintiff without any legal
justification, seizing Plaintiff, Stanford A. Burrell, and then fired a bullet
towards Plaintiff from his service firearm, nearly hitting him, and then
subjected Plaintiff to physical abuse by striking Plaintiff about his head and
body.

At said location, date and time, CHICAGO POLICE OFFICER NED R.
POLOVINA, star # 17772, struck, hit and punched Plaintiff without any legal
justification so hard that Polovina broke his finger of his left hand on
Plaintiff's head, seizing Plaintiff, Stanford A. Burrell, with handcuffs and
subjecting Plaintiff to physical abuse by such striking of Plaintiff about his
head and body.

At said location, date and time, CHICAGO POLICE OFFICER JAIME
GAETA, star # 17317, struck, hit and punched Plaintiff without any legal
justification, seizing Plaintiff, Stanford A. Burrell, with handcuffs and
subjecting Plaintiff to physical abuse by such striking of Plaintiff about his
head and body.

At said location, date and time, and CHICAGO POLICE OFFICER JAMES
A. MANSELL, star # 17374 struck, hit and punched Plaintiff without any
legal justification, seizing Plaintiff, Stanford A. Burrell, and subjecting
Plaintiff to physical abuse by such striking of Plaintiff about his head and
body.

At said location, date and time, and CHICAGO POLICE OFFICER J.
LUKASIK, star # 7955 struck, hit and punched Plaintiff without any legal
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justification, seizing Plaintiff, Stanford A. Burrell, and subjecting Plaintiff to
physical abuse by such striking of Plaintiff about his head and body.

At said location, date and time, and CHICAGO POLICE OFFICER R.
WOODS, star # 55064 struck, hit and punched Plaintiff without any legal
justification, seizing Plaintiff, Stanford A. Burrell, and subjecting Plaintiff to
physical abuse by such striking of Plaintiff about his head and body.

At said location, date and time, and time, Unknown Chicago Police Officers
struck, hit and punched Plaintiff without any legal justification, seizing
Plaintiff, Stanford A. Burrell, and subjecting Plaintiff to physical abuse by
such striking of Plaintiff about his head and body.

When there was no probable cause to stop, detain, and/or arrest Stanford A.
Burrell, he was falsely arrested by Individual Defendants, and by additional
Unknown Chicago Police Officers.

On October 6, 2005, Defendant CHICAGO POLICE OFFICER DAVID W.
HOLLIDAY, star # 14827, signed and caused to be filed with the Clerk of the
Circuit Court: a false Misdemeanor Complaint that falsely alleged that
Stanford A. Burrell had committed the offense of Aggravated Assault
Protected Employee in violation of 720 ILCS 5/12-2; as well as a false
Misdemeanor Complaint that falsely alleged that Stanford A. Burrell had
committed the offense of Resisting a Peace Officer in violation of 720 ILCS
5/31-1.

Stanford A. Burrell was transported to South Shore Hospital where he was
treated for the injuries which he received when Defendant Holliday OC
sprayed Stanford Burrell and when the Individual Defendants struck, hit and
physically abused him.

Defendants, CHICAGO POLICE OFFICER DAVID W. HOLLIDAY, star #
14827, CHICAGO POLICE OFFICER JAIME GAETA, star # 17317,
 

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CHICAGO POLICE OFFICER NED R. POLOVINA, star # 17772, and
CHICAGO POLICE OFFICER JAMES A. MANSELL, star # 17374,
CHICAGO POLICE OFFICER J. LUKASIK, star # 7955, and CHICAGO
POLICE OFFICER R. WOODS, star # 55064, and other Unknown Chicago
Police Officers filled out and filed false police reports to cover for their
wrongful actions against Stanford A. Burrell.

Individual Defendants and Unknown Chicago Police Officers had their false
reports and swom statements tendered to their superiors and to Assistant
State’s Attorneys who relied on the false reports and sworn statements.
Stanford A. Burrell was forced to hire attorneys to represent him on the false
charges placed on him.

As a result of the attack by Individual Defendants and Unknown Chicago
Police Officers, Stanford A. Burrel] sustained injuries to various parts of his
head and body, including but not limited to his left hand thumb and pointer
finger, and his right eye; he additionally suffered bruises and contusions to his
head, face, and right rib cage area.

Stanford A. Burrell suffered mental, emotional and physical damage as a
result of Defendants’ actions on October 6, 2005, specifically, but not
exclusively: he generally experiences a lack of enjoyment for life, and other
mental and emotional! complaints and traumas.

As aresult of the wrongful actions of the Defendants on October 6, 2005,
Stanford A. Burrell incurred physical pain and suffering, humiliation, loss of
his liberty, medical and legal expenses, mental distress and anguish, was

prevented from attending work and going about his regular business.
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COUNT I
42 U.S.C. § 1983 Excessive Force Claim
Against Individual Defendants and Unknown Chicago Police Officers

24. Plaintiff Stanford A. Burrell realleges paragraphs 1 through 23.

25. The actions of Individual Defendants and Unknown Chicago Police Officers
in physically abusing and otherwise using unreasonable and unjustifiable
force against Plaintiff, violated Plaintiff's right under the Fourth Amendment
to the United States Constitution to be secure in his person, papers and effects
against unreasonable searches and seizures and thus violated 42 U.S.C. §
1983.

26. Individual Defendants and Unknown Chicago Police Officers acted
maliciously, willfully, wantonly, and/or in reckless disregard of the Plaintiff's
constitutional rights to be free from the use of excessive and unnecessary
force.

27. The actions of Individual Defendants and Unknown Chicago Police Officers
were the direct and proximate cause of the violations of Plaintiff's Fourth
Amendment rights, his injuries, including the bruising, spraining, contusions
and pain on his body; the experiencing of a lack of enjoyment for life, and
other mental and emotional complaints and traumas; anguish and humiliation;
loss of personal freedom; and the expenditure of moneys for medical and legal

expenses, as set forth more fully above.

WHEREFORE, Plaintiff, Stanford A. Burrell, demands compensatory damages,
punitive damages, costs, and attorneys fees against Individual Defendants and Unknown
Chicago Police Officers; additionally, Plaintiff demands whatever further relief this Court

deems equitable and just.
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COUNT II
42 U.S.C, § 1983 Unreasonable Seizure Claim
Against Individual Defendants and Unknown Chicago Police Officers

28. Plaintiff Stanford A. Burrell realleges paragraphs 1 through 23.

29. The actions of Individual Defendants and Unknown Chicago Police Officers
in using physical force against Plaintiff and in Defendant Holliday of firing
OC spray and of shooting his service firearm towards Plaintiff, as set forth
more fully above, were without probable cause or reasonable suspicion, were
unreasonable in scope and nature, and also violated Plaintiff's right under the
Fourth Amendment to the United States Constitution to be secure in his
person, against unreasonable seizures and thus violated 42 U.S.C. § 1983.

30. The actions of the Individual Defendants and Unknown Chicago Police
Officers in unreasonably seizing Plaintiff, and/or in ordering the same, and/or
failing to stop said seizure, while having the opportunity to do so, were the
direct and proximate cause of the violations of Plaintiff's Fourth Amendment
rights, his injuries, mental suffering, anguish and humiliation, and loss of

personal freedom, as set forth more fully above.

WHEREFORE, Plaintiff, Stanford A. Burrell, demands compensatory damages,
punitive damages, costs, and attorneys fees against Individual Defendants and Unknown
Chicago Police Officers; additionally, Plaintiff demands whatever further relief this Court

deems equitable and just.

COUNT III
42 U.S.C. § 1983 False Arrest and Detention Claim
Against Individual Defendant and Unknown Chicago Police Officers

31. Plaintiff realleges paragraphs 1 through 23.

32. The actions of the Individual Defendants and Unknown Chicago Police
 

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Officers falsely arresting, and/or detaining, and imprisoning Plaintiff without
probable cause, violated Plaintiff's right under the Fourth Amendment to the
United States Constitution to be secure in his person, papers and effects
against unreasonable searches and seizures as guaranteed by the Fourteenth
Amendment.

33. The actions of the Individual Defendants and Unknown Chicago Police
Officers were the direct and proximate cause of the violations of Plaintiff's
Fourth Amendment rights, his injuries, mental suffering, anguish and
humiliation, and loss of personal freedom, and expenses, as set forth more

fully above.

WHEREFORE, Plaintiff Stanford A. Burrell prays the Court will award him actual
and punitive damages as well as costs and reasonable attorney fees against the Individual

Defendants and unknown Chicago Police Officers.

COUNT IV
42 U.S.C. § 1983 Conspiracy Claim
Against Individual Defendants and Unknown Chicago Police Officers

34. Plaintiff realleges paragraphs | through 23.

35. Individual Defendants and Unknown Chicago Police Officers acting together
and under the color of law, reached an understanding and agreement, engaged
in a course of conduct and otherwise conspired among and between
themselves to deprive Plaintiff of his Constitutional rights, and to deprive him
of said rights, including his right to be free from unreasonable search, arrest,
detention, his right to due process of law, as protected by the Fourth
Amendment to the U.S. Constitution and 42 U.S.C. § 1983.

36. In furtherance of their conspiracy or conspiracies, the Individual Defendants
 

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and Unknown Chicago Police Officers committed the overt acts set forth
above, including, but not limited to, the unreasonable search, the arrest,
charging, detention, imprisonment, and prosecution without probable cause,
the filing of false and incomplete reports, the making of false and incomplete
statements, and the cover-up of their misconduct.

37. Said conspiracy or conspiracies and overt acts caused said constitutional
violations, and said injuries, pain, suffering, and mental anguish, as set forth

above.

WHEREFORE, Plaintiff Stanford A. Burrell prays the Court will award him actual
and punitive damages as well as costs and reasonable attorney fees against Individual

Defendants and Unknown Chicago Police Officers.

COUNT V
Pendent State Law Claim for Battery
Against Individual Defendants and Unknown Chicago Police Officers

38. Plaintiff realleges paragraphs 1 through 23.

39. The actions of Defendant Holliday in spraying OC spray at Plaintiff and of the
Individual Defendants and Unknown Chicago Police Officers in physically
abusing and beating Plaintiff, Stanford A. Burrell, directly and proximately
caused the injuries and damages to Plaintiff, including but not limited to the
sprains, bruises, and contusions on his body as claimed above and constitute

the tort of battery under the laws of the State of Hlinois.

WHEREFORE, Plaintiff Stanford A. Burrell prays the Court will award him
actual and punitive damages as well as costs and reasonable attorney fees against

Individual Defendants and Unknown Chicago Police Officers.
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COUNT V
Pendent State Law Claim for Assault
Against Defendant Holliday

40. Plaintiff realleges paragraphs 1 through 23.

41. The actions of Defendant Holliday in shooting his OC spray at Plaintiff and of
aiming his firearm towards and shooting towards Plaintiff, Stanford A.
Burrell, directly and proximately caused the injuries and damages to Plaintiff,
including but not limited to the fear and terror he experienced as he
reasonably apprehended that he would be receiving an imminent battery and

constitute the tort of assault under the laws of the State of Tllinois.

WHEREFORE, Plaintiff Stanford A. Burrell prays the Court will award him
actual and punitive damages as well as costs and reasonable attorney fees against

Defendant Holliday.

COUNT VI
Pendent State Law Claim for False Arrest and Imprisonment
Against Individual Defendants and Unknown Chicago Police Officers

42. Plaintiff realleges paragraphs | through 23.

43. The actions of the Individual Defendants and Unknown Chicago Police
Officers in falsely charging and prosecuting Plaintiff, thereby causing him to
lose his liberty and be criminally prosecuted and be imprisoned, were done in
a willful and wanton manner and constituted the torts of false arrest and
imprisonment under the laws of the Constitution of the State of Illinois, and
did directly and proximately cause the injuries, pain and suffering, severe
mental and emotional distress, anguish, humiliation, loss of liberty, and

damages to Plaintiff, as claimed above.

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WHEREFORE, Plaintiff Stanford A. Burrell prays the Court wiil award him

actual and punitive damages as well as costs and reasonable attorney fees against

Individual Defendants and Unknown Chicago Police Officers.

COUNT VII

Pendent State Law Claim for Intentional Infliction of Emotional Distress
Against Individual Defendants and Unknown Chicago Police Officers

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Plaintiff realleges paragraphs | through 23.

In subjecting Stanford A. Burrell to physical abuse, the use of unreasonable
and unjustifiable force against Plaintiff, to spraying him with OC spray, and to
being shot towards, Individual Defendants and Unknown Chicago Police
Officers engaged in extreme and outrageous conduct against Plaintiff.

In carrying out the illegal and unreasonable actions of preparing false police
reports, falsely charging Stanford A. Burrell, and falsely testifying against
Stanford A. Burrell, thereby causing him to lose his liberty and be criminally
prosecuted and be imprisoned, Individual Defendants and Unknown Chicago
Police Officers engaged in extreme and outrageous conduct.

Individual Defendants and Unknown Chicago Police Officers intended, by
subjecting Stanford A. Burrell to such humiliating, degrading, and
unconstitutional and illegal conduct, to inflict severe emotional distress on
Stanford A. Burrell, or knew there was a high probability that their conduct
would cause Stanford A. Burrell severe emotional distress.

The conduct and actions of the Individual Defendants and Unknown Chicago
Police Officers, as set forth above, were done in a willful and wanton manner
and were the direct and proximate cause of Stanford A. Burrell’s severe
etnotional distress, embarrassment and humiliation and constitute intentional!

infliction of severe emotional distress under the laws of the State of Illinois.

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WHEREFORE, Plaintiff Stanford A. Burrell prays the Court will award him actual
and punitive damages as well as costs and reasonable attorney fees against Individual
Defendants and Unknown Chicago Police Officers.

COUNT VIII
Statutory Indemnification
(745 ILCS 10/9-102 Claim Against the City of Chicago)

49, Plaintiff realleges paragraphs 1 through 23.
50. Defendant City of Chicago was the employer of each of the Individual
Defendants and Unknown Chicago Police Officers at all times relevant to this

complaint.

51. At all relevant times 745 ILCS 10/9-102 was in full force and effect.

52. These Individual Defendants and Unknown Chicago Police Officers
committed the acts alleged above under color of law and in the scope of their

employment as employees of the City of Chicago.

WHEREFORE, Plaintiff Stanford A. Burrell prays the Court will award him

actual damages and costs against the City of Chicago.

Plaintiff Stanford A. Burrell demands a jury trial on each count of this Complaint.

Respectfully submitted,

 

Dated this 2™ day of October, 2006.

ROBERT A. FISHER, LTD.
20 South Clark Street

Suite 700

Chicago, IL 60603

Atty. No, 06200923

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